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Exhibit 8
Case 1:13-md-02419-RWZ Document 1258-8 Filed 07/10/14

GIDEON, COOPER & ESSARY

A PROFESSIONAL LIMITED LIABILITY COMPANY

315 DEADERICK STREET, SUITE 1100

C.J. GIDEON, jr.' NASHVILLE, TENNESSEE 37238
DIXIE W. COOPER?

BRYAN ESSARY? (615) 254-0400

CHRIS J. TARDIO‘ -
CHRISTOPHER A. VRETTOS FAX (615) 254-0459

ALAN S$. BEAN www.gideoncooper.com

JAMES C. SPERRING
JOSHUA R. ADKINS

KIM J. KINSLER?

RANDA VON KANEL

J. BLAKE CARTER’

MARK A. HAMMERVOLD'
MATT H. CLINE
JOHN-MARK ZINIS

CHRIS TARDIO
chris@gideoncooper.com

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"LICENSED IN TN & FL
*LICENSED IN TN, AL & TX
SLICENSED IN TN & GA
*4LICENSED INTN & KY
SLICENSED IN TN & WI
SLICENSED IN TN & KS

December 30, 2013

Via hand delivery

J. Gerard Stranch, IV
BRANSTETTER, STRANCH & JENNINGS
227 Second Avenue North
Nashville, TN 37201

Dear Gerard:

As you have probably noticed, while Judge Saylor has issued various orders out
of the December 13, 2013, status conference, he has yet to rule on our Motion to Stay
Discovery Pending Entry of a Discovery Plan and Motion for Entry of a Discovery Plan
[Dkt. 598).

Our understanding from the status conference was that Judge Saylor would refer
those issues to Judge Boal, and that no further action was needed on these two
motions. We reached out to Judge Saylor's office on Friday to ask if rulings on these
motions and/or referrals to Judge Boal were coming. His clerk notified us that Judge
Saylor was still “working through the discovery issues." He instructed us to check back
on January 3 if there was no order issued.

| do not think we are going to be able to resolve our disagreements on the way
written discovery should be conducted without ruling(s) on these two motions. However,
| write one last time in an attempt to reach an agreement on how to proceed while these

motions remain pending.
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First, | enclose:

STOPNC’s response/objection to the PSC’s revised subpoena

Howell Allen’s response/objection to the PSC’s revised subpoena

SSC’s response/objection to the PSC’s revised subpoena

CD with STOPNC and Howell Allen state court document production’
STOPNC, et al. responses to first 25 RFAs pursuant to Local Rule 26.1(c)
SSC responses to first 25 RFAs pursuant to Local Rule 26.1(c)

Objection to further responding to written discovery to STOPNC, et al.
while the Motion to Stay Discovery is pending and while the Motion for
Entry of a Discovery Plan is pending

8. Objection to further responding to written discovery to SSC/Lister while the
Motion to Stay Discovery is pending and while the Motion for Entry of a
Discovery Plan is pending.

NOORWN>

The CD should resolve the petty dispute about whether the documents you have
from the state court litigation were served in "this" litigation. It should also, frankly,
resolve virtually all of the outstanding document requests to STOPNC, ef al.

Second, we are still willing to agree to the written discovery protocol we proposed
with Dkt. 598, which | thought was very reasonable. However, at this point, if we plan to
travel under the limits in the FRCP and the local rules, as the PSC has proposed, we
are limited in all forms of discovery and cannot serve any discovery until initial
disclosures are made. | propose, again, that we mutually exchange initial disclosures (a
“common" PSC set for STOPNC cases and SSC cases, and "common" sets from
STOPNC, ef al. and SSC/Lister) in short order. We would then proceed to answer the
"common" discovery that is outstanding to us, and we will serve the "common" set of
written discovery on the PSC that we have been withholding pending entry of a plan
setting reasonable limits on written discovery. | also think our limits of 200 RFAs/40
ROGs/60 RFPs are reasonable.

Otherwise, | suppose we can wait for Judge Boal to work through these issues
and enter a discovery protocol, which will take time, and we will probably end up with
something that looks like what we proposed with Dkt. 598. Under our proposal with DKt.
598, you would already have our initial disclosures, and complete responses to the
written discovery (to the extent not covered by the initial disclosures) would be
forthcoming after the holidays.

Please take another look at our proposed written discovery plan with Dkt. 598.
Without it, we would both launch into discovery with no limits or protocols except the
FRCP and local rules, which do not contemplate this complicated and unique litigation.
Let's see if we can put a reasonable agreed protocol in place while the motion to stay
written discovery and motion for discovery plan are still pending.

‘We have omitted the patient-specific documents from the state court cases.
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| look forward to hearing from you.

Thank you.
Very Truly Yours,
OT Wwe Har perms sé ron VY ie
Chris J. Tardio
CJT/lao

Enc.
cc: Marcy Greer (with enclosures)
